 Case 1:19-cv-01105-RGA Document 24 Filed 08/10/20 Page 1 of 2 PageID #: 537

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                                               August 10, 2020


The Honorable Richard G. Andrews                                             VIA ELECTRONIC FILING
United States District Court
  for the District of Delaware
844 North King Street
Wilmington, DE 19801


         Re:         Interactive Games LLC v. DraftKings, Inc.,
                     C.A. No. 19-1105 (RGA) (D. Del.)

Dear Judge Andrews:

                Pursuant to the Court’s August 7, 2020 Oral Order (D.I. 23) (the “Order”)
instructing the Parties to file a joint status report within three days from the date of the Order,
Plaintiff Interactive Games LLC and Defendant DraftKings Inc. (collectively, the “Parties”)
submit this letter to advise the Court of the status of the case.

              First, the previous litigation between the parties has been dismissed with prejudice
as of July 17, 2020. See CG Technology Development, LLC et al. v. DraftKings, Inc., C.A.
No. 17-1040, D.I. 131 (D. Del.).

                Second, DraftKings has filed petitions for Inter Partes Review for all asserted
patents in this case (“the IPRs”):

                      USP 8,616,967                       IPR2020-01110
                      USP 8,956,231                       IPR2020-01109
                      USP 8,974,302                       IPR2020-01108
                      USP 9,430,901                       IPR2020-01107

                     Finally, the Parties plan to engage in settlement discussions shortly.

                To conserve resources, Plaintiffs propose staying the case during the pendency of
IPRs, or, at least until the PTAB determines whether to institute the IPRs, which will be no later
than January 13, 2021. If the PTAB determines not to institute the IPRs, Plaintiffs agree that the
case should move forward in its normal course at that time.
 Case 1:19-cv-01105-RGA Document 24 Filed 08/10/20 Page 2 of 2 PageID #: 538

The Honorable Richard G. Andrews
August 10, 2020
Page 2


              Defendants propose staying the case until the Motion to Dismiss (D.I. 10) can be
heard in-person and a decision on that Motion rendered and then, thereafter, during the pendency
of the IPRs.

                                            Respectfully,

                                            /s/ Rodger D. Smith II

                                            Rodger D. Smith II (#3778)

RDS/rah
cc:   All Counsel of Record (via electronic mail)
